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|| SELECT PORTFOLIO SERVICING, INC.,

 

bse 2:15-cv-03584-CAS-JEM Document 28 Filed 03/16/16 Page 1of13 Page ID #:210

OAKTREE LAW

Julie J. Villalobos, Esq., SBN 263382
Fiese]man, Esq. TeBN 81872

109 0 183 Street Suite 270

Cerritos CA 90703

Telephone: © 62) 741-3938

Facsimile: (562) 376-4570

Attorneys for Plaintiff
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

OKECHUK WU OBIOMA UKAEGBE,
Plaintiff,

Case no.: 2:15-cv-03584-CAS-JEM

NOTICE OF RULING ON
MOTION TO WITHDRAW AS
ATTORNEY OF RECORD FOR

Vs. PLAINTIFF

a Utah Financial institution; BANK OF
AMERICA, N.A., a Delaware Financial
Institution: NATIONAL DEFAULT
SERVICIG CORPORATION, an Arizona
Financial Institution; and DOES 1 TO 100,

Inclusive,

Date: March 7, 2016

Time: 10:00 a.m.

Ctrm: 5 — 2d Floor

The Hon. CHRISTINA A. SNYDER
United States District Court Judge
Defendants.

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The motion of Oaktree Law for an order permitting it to withdraw as attorney of
record herein for plaintiff, Okechukwu Obioma Ukaegbe came on for hearing on March
7, 2016, at 10:00 a.m. in Courtroom 5 of the United States District Court for the Central
District of California, before the Honorable Christina A. Snyder. .

Larry Fieselman appeared on behalf of Oaktree Law. There were no other
appearances.

Having reviewed the moving, opposition and reply papers, as well as other

documents on file herein, and having found that Oaktree Law has adequately

NOTICE OF RULING ON MOTION TO WITHDRAW AS COUNSEL FOR PLAINTIFF

 
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demonstrated there is good cause for withdrawal and that neither plaintiff nor defendants
will be unfairly prejudiced by such withdrawal, the Court granted the motion.

A copy of the Therefore, the motion is granted.

Oaktree shall advise plaintiff that, in accordance with the Court’s February 19,
2016, OSC, his failure to prosecute this case may result in dismissal of this action. A
copy of Oak Tree Law’s February 22, 2016, letter to plaintiff, with a copy of the Court’s
February 19, 2016, ruling and Order to Show Cause is attached hereto as Exhibit “1”.

A copy of the Court’s ruling on March 7, 2016, is attached hereto as Exhibit “2”.

Plaintiff is advised, pursuant to Local Rule 83-2.3.2, “when an attorney of record

for any reason ceases to act for a party, such party mystappear pro se or appoint another

  

attorney by a written substitution of atto

 

Dated: March 15, 2016.

 

Former Attorney for Plaintiff

NOTICE OF RULING ON MOTION TO WITHDRAW AS COUNSEL FOR PLAINTIFF

 
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EXHIBIT “1”

NOTICE OF RULING ON MOTION TO WITHDRAW AS COUNSEL FOR PLAINTIFF

 

 
. “Case 2:15-cv-03584-CAS-JEM Document 28 Filed 03/16/16 Page 4of13 Page ID #:213

OAKTREE LAW
Attorneys at Law
10900 183" Street, Suite 270

Cerritos, California 90703
Telephone: (562) 741-3938
Facsimile: (562) 264-1496

January 22, 2016

OKECHUKWU OBIOMA UKAEGBE
1467 East Abbotson Street
Carson CA 90746

Re: Ukaegbe vs. Select Portfolio Servicing
Case no. 2:15-ev-03584-CA(JEMx)

Dear Mr. Ukaegbe:

We have been trying to contact you for the past several weeks but you have ignored our telephone
calls and emails.

On February 19, 2016, opposing counsel appeared, ex parte, in the District Court. A copy of the
court’s ruling is enclosed herewith. Please pay particular attention to the first sentence in paragraph 1,
which reads as follows: PLAINTIFF IS HEREBY ORDERED TO SHOW CAUSE VIA THE FILING
OF A WRITTNE RESPONSE, ON OR BEFORE MARCH 21, 2016, WHY THIS ACTION SHOULD
NOT BE DISMISSED FOR FAILURE TO PROSECUTE.

Please contact me at your very earliest convenience to discuss your intentions in this matter and to
allow us to prepare a timely written response.

Failure to provide a written response, as required by the order will most likely result in your case
being dismissed with prejudice which means you will be forever barred from bringing the action again.

Please govern your actions accordingly.

Yours very truly,

OAKT

   

by:

 

 

LAWRENCE R. FIESELMAN

Encl.
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
CIVIL MINUTES-GENERAL | 0”
2:15-cv-03584-CAS(JEMx) I February 19, 2016

OKECHUKWU OBIOMA UKAEGBE V. SELECT PORTFOLIO
SERVICING, INC, ET AL.

 

 

 

 

 

CHRISTINA A. SNYDER

 

 

Catherine Jeang Not Present N/A
Deputy Clerk Court Reporter / Recorder Tape No.
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
Not Present Not Present

Proceedings: (IN CHAMBERS) - DEFENDANT’S UNOPPOSED EX PARTE
APPLICATION FOR AN ORDER (1) TO SHOW CAUSE RE
DISMISSAL FOR FAILURE TO PROSECUTE; (2)
CONTINUING DATES AND DEADLINES INCLUDING
TRIAL; AND (3) COMPELLING PLAINTIFF’S ATTENDANCE
AT DEPOSITION (Dkt. 25, filed February 17, 2016)

The Court is in receipt of defendants Select Portfolio Servicing, Inc. (“SPS’’) and
National Default Servicing Corporation (“NDSC”) (collectively, “defendants”) ex parte
application. Dkt. 25. In this application, defendants request that the Court issue an order:
(1) to show cause why this litigation should not be dismissed with prejudice for
plaintiff's failure to prosecute; (2) continuing dates and deadlines, including trial; and (3)
compelling plaintiff's attendance at a deposition. Id. Defendants state that this
application “is brought on the ground that after Defendants worked this case up and
prepared for mediation, deposition, and summary judgment, Plaintiff abruptly |
disappeared and refuses to participate in the litigation of this case.” Id. at 1. In
particular, defendants note that plaintiff failed to appear for court-ordered mediation on
February 10, 2016, refuses to communicate with his own counsel, and that, due to
plaintiff's disappearance, plaintiff's deposition noticed for February 23, 2016 will not be
going forward. Id. In addition, on February 8, 2016, plaintiffs counsel filed a motion to

withdraw as counsel. Dkt. 20. Having considered defendant’s arguments, the Court
finds and concludes as follows:

1. Plaintiffis hereby ordered to show cause via the filing of a written response, on or
before March 21, 2016, why this action should not be dismissed for failure to
prosecute. Plaintiff is warned that his failure to provide a satisfactory response

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page | of 2
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL ‘O° .
2:15-cv-03584-CAS(JEMx) . February 19, 2016

OKECHUKWU OBIOMA UKAEGBE V. SELECT PORTFOLIO
| SERVICING, INC, ET AL.

 

 

 

 

may result in the dismissal of this action. Counsel for plaintiff is ordered to
promptly deliver a copy of this order to plaintiff.

2. The Court grants defendants’ request for an eight week continuance of the dates
and deadlines set forth in the Court’s scheduling order entered September 28,
2016. Dkt. 14. This brief extension will permit the Court and the parties to resolve
the pending motion to withdraw filed by plaintiffs counsel and the order to show
cause. The dates and deadlines are amended as follows:

a. The fact discovery cut-off is extended from February 26, 2016 to April 22,
2016. Notwithstanding this extension, the only fact discovery that shall be
permitted after February 26, 2016 shall be Plaintiffs deposition.

b. The deadline to file motions is extended from April 22, 2016 to June 17,
2016.

C. The pre-trial conference and hearing on motions in limine is continued from
June. 20, 2016 to August 15, 2016, at 11:00 a.m.

d. _—‘ The trial is continued from August 2, 2016 to September 27, 2016.

3. The Court declines at this juncture to issue an order compelling plaintiff's

attendance at a deposition and defers to the magistrate judge assigned to this case
the question of whether an order to compel should issue.

In accordance with the foregoing, the Court GRANTS in part and DENIES in
part defendant’s ex parte application.

IT IS SO ORDERED.

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Initials of Preparer CMJ

 

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 2 of 2
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EXHIBIT “2”

NOTICE OF RULING ON MOTION TO WITHDRAW AS COUNSEL FOR PLAINTIFF

 
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL __ ‘O°
2:15-cv-03584-CAS(JEMx) Date March 7, 2016

OKECHUKWU OBIOMA UKAEGBE V. SELECT PORTFOLIO
SERVICING, INC, ET AL.

 

 

 

 

 

 

CHRISTINA A. SNYDER

 

Catherine Jeang Laura Elias N/A
Deputy Clerk ~ Court Reporter / Recorder Tape No.

Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
Larry Fieselman Kristapor Vartanian

Proceedings: MOTION OF OAKTREE LAW TO WITHDRAW AS
ATTORNEY OF RECORD FOR PLAINTIFF (Dkt. 20, filed
February 8, 2016)

L. INTRODUCTION AND BACKGROUND

On April 9, 2015, plaintiff Okechukwu Obioma Ukaegbe (“plaintiff”) filed the
instant action the Los Angeles County Superior Court against defendants Select Portfolio
Servicing, Inc. (“SPS”), National Default Servicing Corporation (“NDS”), and Bank of
America, N.A. (“Bank of America”) (collectively “defendants”). Dkt. 1. On May 13,
2015, defendants removed this action to federal court, asserting diversity jurisdiction.
See id. Plaintiffs nine claims arise out of defendants’ alleged efforts to initiate and

complete non-judicial foreclosure proceedings against his property.’ See generally
Compl.

On February 8, 2016, Oaktree Law (“Oaktree” or “Counsel”) filed a motion to
withdraw as plaintiff's attorney of record. Dkt. 20 (“Motion”). On February 16, 2016,
defendants SPS and NDS filed an opposition to Oaktree’s motion. Dkt. 23 (“Opp’n’”).
On February 17, 2016, Oaktree filed a reply. Dkt. 24 (“Reply”).

On February 19, 2016, following defendants’ filing of an unopposed ex parte
application, the Court issued an order to show cause via the filing of a written response,
on or before March 21, 2016, why this action should not be dismissed for failure to

 

' On August 26, 2015, defendant Bank of America was dismissed from this action,

with prejudice, following its settlement of all claims asserted against it. See dkts. 9-11.
CV-90 (06/04) CIVIL MINUTES - GENERAL Page | of 4
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

| CIVIL MINUTES - GENERAL ‘oO
2:15-cv-03584-CAS(JEMx) Date = March 7, 2016

: OKECHUKWU OBIOMA UKAEGBE V. SELECT PORTFOLIO
_ SERVICING, INC, ET AL.

    
 

 

 

 

 

prosecute. Dkt. 26. In its OSC, the Court “warned [plaintiff] that his failure to provide a
satisfactory response may result in the dismissal of this action,” and further ordered
counsel for plaintiff “to promptly deliver a copy of this order to plaintiff.” Id. In its
order, the Court also granted defendants’ request for an eight week continuance of the
dates and deadlines set forth in the Court’s initial scheduling order, in order to “permit
the Court and the parties to resolve the pending motion to withdraw filed by plaintiff's
counsel and the order to show cause.” Id.

The Court held oral argument on March 7, 2016. Having carefully considered the
parties’ arguments, the Court finds and concludes as follows.

Il. DISCUSSION

Local Rule 83—2.3.2 allows an attorney to withdraw as counsel only upon leave of
court. If withdrawal will cause delay in the case, the court will not allow the attorney to
withdraw unless “good cause is shown and the ends of justice require [such relief].” L.R.
83-2.3.5. If withdrawal is allowed, the affected parties then “shall appear pro se or
appoint another attorney by a written substitution of attorney.” L.R. 83—2.3.3. However,
the motion for leave to withdraw must be supported by “good cause;” notably,“[f]ailure

of the client to pay agreed compensation is not necessarily sufficient to establish good
cause.” L.R. 83-2.3.2.

Attorney Larry Fieselman of Oaktree Law states in a declaration that he and his
firm have served as counsel of record for plaintiff in the above-referenced case.
Declaration of Larry Fieselman at {J 1-3. Fieselman asserts that “the attorney-client
relationship has broken down and cannot be repaired” because, inter alia, (1) “plaintiff
has not provided [Counsel] with requested documents necessary to properly represent
him in the ongoing proceeding,” and (2) “[t]here is an outstanding balance owing from
plaintiff to the firm and fees will substantially increase from this point forward.” Id. at {9
4,7. Fieselman further states that plaintiff has “missed his last appointment and is not

 

* In its order, the Court also “decline[d] at this juncture to issue an order
compelling plaintiffs attendance at a deposition and defer[red] to the magistrate judge

assigned to this case the question of whether an order to compel should issue.” Dkt. 26.
CV-90 (06/04) CIVIL MINUTES - GENERAL Page 2 of 4
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL ‘oO’
2:15-cv-03584-CAS(JEMx) March 7, 2016

  

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OKECHUKWU OBIOMA UKAEGBE V. SELECT PORTFOLIO
SERVICING, INC, ET AL.

 

 

 

returning [counsel’s] telephone calls.” Id. at | 6. In his motion, Fieselman asserts that
“plaintiff has rejected [the firm’s advice] regarding the pending case, instead directing
counsel to proceed in a manner counsel believes is inappropriate under the circumstances
and contrary to existing law.” Motion at 1.

In an opposition filed before this Court issued an OSC on February 19, 2016,
defendants SPS and NDS (1) argue that Oaktree should not be permitted to withdraw as
plaintiffs attorney of record, and (2) make a (now-mooted) request that this Court issue
an OSC why this action should not be dismissed for failure to prosecute. See Opp’n.
Defendants state that plaintiff “has done nothing to work this case up and has entirely
abandoned the prosecution of the case, to such an extent that he failed to appear for the
Court mandated mediation [on February 10, 2016] and will not be appearing for his
properly noticed deposition [on February 23, 2016].” Opp’n at 4. Defendants argue that
“[i]f Oaktree is now permitted to withdraw at the eleventh hour, [d]efendants will
essentially have no opposing litigant to assist in bringing this case to a timely resolution,
thus interfering with the orderly administration of justice.” Id. at 1. In a reply, Oaktree
contends that trial in this matter is nearly five months away and therefore plaintiff will
have ample opportunity to secure replacement counsel, should he choose to do so.
Oaktree further avers that even if it is permitted to withdraw, defendants can nonetheless
seek to have the case dismissed for plaintiffs failure to prosecute (e.g., for plaintiff’ s
failure to appear at both mediation sessions and depositions). See Reply.

For the reasons outlined in Fieselman’s declaration, and in light of the Court’s
issuance of the aforementioned OSC on February 19, 2016, the Court finds that Oaktree
has adequately demonstrated good cause for their withdrawal and that neither plaintiff
nor defendants will be unfairly prejudiced by such withdrawal. Oaktree is hereby ordered
to provide plaintiff with notice of this Court’s order in accordance with Local Rule 83-
2.3. Oaktree is further ordered to advise plaintiff that, in accordance with Local Rule 83-
2.3.2, “[w]hen an attorney of record for any reason ceases to act for a party, such party
must appear pro se or appoint another attorney by a written substitution of attorney
signed by the party and the attorneys.” In addition, Oaktree shall again advise plaintiff
that, in accordance with the Court’s February 19, 2016 OSC, plaintiff's failure to
prosecute this case may result in its dismissal. In doing so, Oaktree shall attach a copy of
this order, and shall otherwise comply with all applicable rules of professional
responsibility.

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 3 of 4

 
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. UNITED STATES DISTRICT COURT
‘ CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL ‘oO’
2:15-cv-03584-CAS(JEMx) March 7, 2016

OKECHUKWU OBIOMA UKAEGBE V. SELECT PORTFOLIO
__ SERVICING, INC, ET AL.

    

Hi. CONCLUSION

In accordance with the foregoing, Oaktree Law’s motion to withdraw as counsel of
record for plaintiff Okechukwu Obioma Ukaegbe is hereby GRANTED.

IT IS SO ORDERED.

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Initials of Preparer CMJ

 

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 4 of 4
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PROOF OF SERVICE

I am over the age of 18 years and not a party to this action. My business address is
10900 183" Street, Suite 270, Cerritos CA 90703:

On March 15, 2016, I served the foregoing document entitled NOTICE OF
RULING ON MOTION TO WITHDRAW AS ATTORNEY OF RECORD FOR
PLAINTIFF on the interested parties in this action at the address(es) set forth in the
attached SERVICE LIST, by the following means:

BY HAND DELIVERY: By causing a true copy thereof, enclosed in a
sealed envelope, to be delivered by hand to the address(es) shown below.

XX _ BY MAIL: By placing each envelope (with Proper postage affixed
thereto) in the United States Mail at 10900 183" Street, Suite 270, Cerritos CA 90703. I
am readily familiar with the firm’s practice for collection and processing of
correspondence for mailing with the U.S. Postal, Service and in the ordinary course of
business, correspondence would be deposited with the U.S. Postal Service the same day it
is placed for collection and processing.

BY OVERNIGHT MAIL: By placing with Federal Express for delivery a
true copy thereof, enclosed in a sealed envelope, to the address(es) shown below, wit
delivery charges to be billed to Oak Tree Law

_ ,. BY FACSIMILE TRANSMISSION: By transmitting a true copy thereof
by facsimile transmission from Oak Tree Law to the following facsimile number(s):

_ BY ELECTRONIC SERVICE: A copy of the above-referenced document
was transmitted by electronic mail (“email”) transmission, which transmission was sent at

approximately .m.on 2016 to the parties and at the
email address(es) listed in the attache .

I declare, under penalty of perjury,

that theffore
at Cerritos CA on March 15,201

    
  

  
 

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NOTICE OF RULING ON MOTION TO WITHDRAW AS COUNSEL FOR PLAINTIFF

 
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SERVICE LIST

SHANNON J. McGINNIS, ESQ.

JEFFREY N. WILLIAMS, ESQ.

WARGO & FRENCH LLP

1888 Century Park East, Suite 1520
Los Angeles CA 90067

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Carson CA 90746

NOTICE OF RULING ON MOTION TO WITHDRAW AS COUNSEL FOR PLAINTIFF
